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                             No. 21-15124

    UNITED STATES COURT OF APPEALS
        FOR THE NINTH CIRCUIT

                PLANNED PARENTHOOD FEDERATION
                    OF AMERICA, INC. ET AL.,
                      Plaintiffs-Appellees,
                                    v.
             CENTER FOR MEDICAL PROGRESS, ET AL.,
                       Defendants-Appellants.


  Appeal From Judgment Of The United States District Court
            For The Northern District of California
                   No. 3:16-cv-00236-WHO
           (Hon. William H. Orrick, District Judge)


                 PLAINTIFFS-APPELLEES’ BRIEF

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                       DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, the

undersigned counsel for Plaintiffs-Appellees respectfully submits the

following    disclosure     statement:      Plaintiffs-Appellees      Planned

Parenthood Federation of America, Inc., Planned Parenthood: Shasta-

Diablo, Inc. (DBA Planned Parenthood Northern California), Planned

Parenthood Mar Monte, Inc., Planned Parenthood of the Pacific

Southwest,      Planned       Parenthood       Los      Angeles,      Planned

Parenthood/Orange and San Bernardino Counties, Inc., Planned

Parenthood California Central Coast, Inc., Planned Parenthood

Pasadena and San Gabriel Valley, Inc., Planned Parenthood Center

for Choice, Planned Parenthood of the Rocky Mountains, and Planned

Parenthood Gulf Coast state that they have no parent corporations,

and no publicly held corporation owns ten percent or more of their or

their affiliates’ stock.

DATED: May 17, 2024.

                                                /s/ Steven L. Mayer
                                                STEVEN L. MAYER
                                        Counsel for Plaintiffs-Appellees

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                                INTRODUCTION

        After nearly four years of hard-fought litigation and a six-week

jury trial, the jury issued a verdict that was “overwhelmingly in

plaintiffs’ favor.” 1-SER-41. Plaintiffs were awarded over $2.4 million

in compensatory and punitive damages, as well as a permanent

injunction against all but one Defendant. 1 2-ER-49-58. Plaintiffs’

“overwhelming” success continued in this Court where, despite

multiple consolidated appeals raising a dozen discrete issues,

Plaintiffs’ judgment was affirmed except for one claim under the

Federal Wiretap Act.           This claim amounted to only $90,000 in

damages, or less than 4% of Plaintiffs’ total monetary recovery. In

recognition of Plaintiffs’ success at trial, the District Court awarded

Plaintiffs $12,782,891.25 in attorneys’ fees and $998,119.17 in non-

statutory costs under multiple statutes, including civil RICO and

various state laws. 1-ER-2.



   1
      For ease, all of the plaintiffs are collectively referred to as
“Plaintiffs.” Similarly, Plaintiffs refer to Defendants-Appellants
Center for Medical Progress, BioMax Procurement Services, LLC,
David Daleiden, Gerardo Adrian Lopez, Albin Rhomberg, Susan
Merritt, and Troy Newman collectively as “Defendants.”

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         Defendants’ appeal does not challenge the central factual

findings supporting the fee award, such as the District Court’s

determinations that: (1) the hourly rates awarded for Plaintiffs’

counsel were reasonable (1-ER-9-10), (ii) the hours spent by Plaintiffs’

counsel were reasonable (1-ER-14-17), (iii) Plaintiffs achieved

excellent results (1-ER-10-12), and (iv) Plaintiffs’ claims shared a

“common core of evidence” such that Plaintiffs were entitled to recover

fees spent on ultimately unsuccessful claims or theories of damages

and on claims that did not independently provide for attorneys’ fees

(1-ER-11-12).      Instead, Defendants contend that the fee award is

disproportionate to the damages Plaintiffs obtained; that the fee

award should be reduced or eliminated because this Court reversed

less than 4% of Plaintiffs’ damages; and that the trial court erred in

refusing to require Plaintiffs’ counsel to produce the underlying

timesheets supporting their fee claim.

         Because each of these arguments is foreclosed by decisions of this

Court, the Court should affirm the District Court’s award of fees and

costs.


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                     JURISDICTIONAL STATEMENT

      Plaintiffs agree with Defendants’ statement of jurisdiction.

                       STATUTORY AUTHORITIES

      All relevant statutory authorities appear in the Addendum to

this brief.

                           ISSUES PRESENTED

      1.      Did the District Court abuse its discretion in setting the

amount of attorneys’ fees and costs given (i) its finding that the

November 15, 2019 jury verdict was “overwhelmingly in plaintiffs’

favor”; (ii) case law rejecting a proportionality requirement for

attorneys’ fees in civil RICO actions (and analogous civil rights cases);

and (3) the fact that Plaintiffs obtained significant non-monetary

relief?

      2.      Must the awards of attorneys’ fees and costs be reduced or

eliminated altogether merely because this Court reversed on one claim

representing less than 4% of Plaintiffs’ monetary damages, when that

claim is related to the many other claims on which Plaintiffs

prevailed?



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     3.    Did the District Court abuse its discretion in awarding

attorneys’ fees and costs based on (i) detailed declarations submitted

by Plaintiffs’ attorneys and (ii) the District Court’s “intimate

knowledge” of the complexities of the case, without also requiring

Plaintiffs’ counsel to produce their underlying timesheets?

                      STATEMENT OF THE CASE
     A.    Pre-Trial Proceedings

     Plaintiffs brought this action more than eight years ago to hold

Defendants responsible for an elaborate, multi-year scheme in which

they first created a fake fetal tissue procurement company and then

produced and used false government identification to infiltrate and

secretly film Plaintiffs’ staff at private reproductive healthcare con-

ferences organized by both Planned Parenthood and the National

Abortion Federation.       See generally 2-SER-201-313.             Plaintiffs

asserted common-law claims for fraud, trespass, and breach of contract,

as well as statutory claims for violating civil RICO, the federal

eavesdropping statute, and the eavesdropping statutes of California,

Florida, and Maryland. Four of these statutes—civil RICO, the federal



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wiretapping statute and the wiretapping statutes of Florida and

Maryland—provide that a successful litigant is entitled to receive its

reasonable attorneys’ fees and costs in bringing suit. Id.

     The case went through multiple stages of briefing, appeals, and

discovery disputes in the years prior to trial.

     Plaintiffs filed their initial complaint in January 2016, and a

First Amended Complaint two months later. 4-ER-606, -610; 2-SER-

201-313. Defendants moved to dismiss all 15 claims for relief. The

court denied Defendants’ motion but narrowed Plaintiffs’ RICO claim.

1-SER-142-189.

     Defendants also filed anti-SLAPP motions to strike, which

contended that Plaintiffs’ complaint improperly attacked Defendants’

First Amendment activity. 3-ER-286, 4-ER-612, -613. The district

court denied the motions, and Defendants appealed to this Court. 1-

SER-189-197. After hearing oral argument and requesting further

briefing on certain issues, this Court affirmed. Planned Parenthood

Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828 (9th Cir.),

amended, 897 F.3d 1224 (9th Cir. 2018); Planned Parenthood Fed’n of


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Am., Inc. v. Ctr. for Med. Progress, 735 F. App’x 241 (9th Cir. 2018).

Defendants then filed petitions for rehearing and rehearing en banc,

followed by a petition for a writ of certiorari, which were all denied. 4-

ER-632; Ctr. for Med. Progress v. Planned Parenthood Fed’n of Am.,

139 S. Ct. 1446 (2019).

       Defendant Daleiden then moved to disqualify Judge Orrick,

claiming bias in part because of the judge’s pre-appointment board

membership for a charitable organization that housed a Planned

Parenthood health center maintained by a Planned Parenthood

affiliate.   3-ER-293-294; 4-ER-620; 1-SER-137-142.              A randomly

assigned judge denied the motion. 1-SER-137-142. Defendants then

filed a petition for writ of mandamus attacking this ruling, which this

Court summarily denied after requesting an opposition. 1-SER-135-

136.

       Discovery in this case was extensive. Defendants propounded

nearly 400 document requests, over 100 interrogatories, and over 100

requests for admissions. 3-ER-287-288, -315. Defendants also filed

numerous discovery motions before the magistrate judge assigned to


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the case and, more often than not, challenged the magistrate’s

discovery orders before the district court. 3-ER-289-293, -316-321.

Plaintiffs also filed multiple discovery motions.             The discovery

disputes ranged from challenges involving security-related redactions

of names on Plaintiffs’ documents to challenges to Defendants’

privilege assertions. Id. The parties took 52 depositions of 39 fact

witnesses and 13 experts at locations across the country. 3-ER-322,

-340-42.

      Following discovery, Defendants filed multiple motions for

summary judgment and related motions. Plaintiffs also moved for

summary judgment. In a 137-page order, the district court granted

partial summary judgment to Plaintiffs on several issues—Daleiden

and   BioMax’s     liability   for   certain   breach-of-contract      claims,

Defendants’ public-policy defense to Plaintiffs’ breach-of-contract

claims, and BioMax, Daleiden, and Merritt’s liability for certain

trespass claims. 4-ER-477-479, -511. While the court denied most of

Defendants’ contentions, it limited Plaintiffs to two categories of

damages caused directly by Defendants’ conduct. 4-ER-460-461. In


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addition, the court also granted summary judgment to Lopez, Merritt,

Rhomberg, and Newman on certain trespass and breach-of-contract

claims. 4-ER-575-577.

       B.     Plaintiffs’ Success at Trial

        In November 2019, after a six-week jury trial, the jury returned

a verdict for Plaintiffs on all counts, including fraud, trespass, breach

of contract, unlawful recording under the federal, California, Florida,

and Maryland wiretap statutes, and violations of civil RICO. 1-SER-

89-134.     The jury awarded Plaintiffs $1,555,084 in compensatory,

nominal, and statutory damages and $870,000 in punitive damages.

Id.

        In April 2020, the District Court found for Plaintiffs on their

California Unfair Competition Law claim and entered an injunction

against all Defendants (except one) prohibiting them from (i) entering

or attempting to enter one of Plaintiffs’ conferences or health centers

through misrepresentation and (ii) recording certain private meetings

and areas without consent. 1-SER-41-88; 2-ER-49-58.




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       Defendants filed a number of post-trial motions for judgment as

a matter of law, for a new trial, and to amend the Judgment—all of

which were denied. 3-ER-297; 4-ER-708, -712.

       C.   Plaintiffs’ Motion for Attorneys’ Fees and Costs

       Plaintiffs’ fee motion sought fees only for the time spent by the

core team of 12 timekeepers (plus two in-house counsel), rather than

for each of the 130+ attorneys who worked on the case at some point

in the almost five years between the filing of the complaint and the

filing of the fee motion.2 3-ER-309-310. Each attorney reviewed his

or her own time records and broke the recorded time into nine different

phases of the litigation. 3-ER-307-432. 3 Each attorney submitted a




   2
        This core team consisted of ten attorneys and two legal
assistants.
    3
      The nine phases of the litigation consisted of: (1) preparation of
the Complaint and work successfully defeating in the trial court the
pleadings motions filed by Defendants; (2) Defendants’ unsuccessful
interlocutory appeal from the denial of their anti-SLAPP motions; (3)
pre-trial discovery; (4) Defendants’ unsuccessful motion to disqualify
the District Court and the mandamus proceedings relating thereto; (5)
the parties’ cross-motions for summary judgment; (6) preparation for
trial; (7) trial; (8) post-trial proceedings on the merits (including
Plaintiffs’ successful efforts to obtain injunctive relief and defeat
Defendants’ post-trial motions); and (9) work on the attorneys’ fees
motion.

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declaration explaining the hours they worked and tasks they

completed during each phase. Id. 4

       Each attorney also exercised independent billing judgment with

respect to their own hours; for example, Mr. Mayer did not seek

reimbursement for days he spent attending (but not participating at)

the six-week trial. 3-ER-352-353. In addition, to account for any

potential inefficiencies or duplication, Plaintiffs voluntarily reduced

the fees sought by 25%. 3-ER-310.

       In response, Defendants filed an administrative motion seeking

to compel Plaintiffs’ counsel to produce their underlying timesheets.

2-ER-268-276. In opposing the motion, Plaintiffs explained that such

production was unnecessary under Ninth Circuit precedent and would

cause an undue burden on Plaintiffs’ counsel to redact hundreds of

pages of timesheets for privileged or otherwise protected information




   4
     Although the legal assistants did not submit declarations, one of
the billing attorneys submitted a declaration describing the work they
performed. ER-367.

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(which would necessarily greatly diminish the value of the

timesheets). 1-SER-35-40.

     The District Court denied Defendants’ motion, but noted that it

was “not preclud[ing] defendants from identifying particular tasks (or

parts of the phases as broken down by plaintiffs) about which they

believe they or the Court do not have sufficiently detailed information

when they oppose the motion for fees. They may explain at that time

why there is insufficient information to test the reasonableness of the

fees claimed by plaintiffs for those tasks.” 1-ER-22.

     Defendants opposed Plaintiffs’ motion for attorneys’ fees and

costs, but, as the District Court noted, did not submit any “evidence

from their counsel to support an argument that plaintiffs engaged in

unnecessary duplication of effort at any stage of this litigation for

which plaintiffs seek compensation—not on any particular motion, in

any deposition, in any hearing or case management conference, or

during trial.” 1-ER-15. Instead, they relied heavily on an expert,

whose findings the district court rejected. 1-ER-15-17; 2-ER-128, -135-




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155. Defendants do not attack this aspect of the trial court’s ruling on

appeal.

       The District Court largely granted Plaintiffs’ motion, subject to

a few modifications regarding certain attorneys’ hourly rates, the

amount of fees recoverable for the work of the two in-house counsel,

and costs related to executive security at trial. 1-ER-6-20. The fees

were awarded under civil RICO, the federal wiretapping statute, and

the wiretapping statutes of Florida and Maryland. 1-ER-10. After

Plaintiffs submitted a revised fee request consistent with the District

Court’s Order, the Court awarded Plaintiffs $12,782,891.25 in

attorneys’ fees and $998,119.17 in non-statutory costs. 1-ER-2. 5

       D.   Defendants’ Appeal on the Merits

       After the trial court entered judgment, Defendants filed four

separate appeals raising a dozen discrete issues. In October 2022, the

Ninth Circuit affirmed the entire Judgment, except with respect to




   5
     On appeal, Defendants do not challenge the district court’s award
of statutory or non-statutory costs on any ground unique to those
awards.

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Plaintiffs’ Federal Wiretap Act claim and the $90,000 in corresponding

statutory damages. Planned Parenthood Fed. of Am., Inc. v. Newman,

51 F.4th 1125 (9th Cir. 2022); Planned Parenthood Fed. of Am., Inc. v.

Newman, No. 20-16068, 2022 WL 13613963 (9th Cir. Oct. 21, 2022).

The Ninth Circuit then denied Defendants’ petitions for rehearing en

banc, and the Supreme Court denied Defendants’ petitions for

certiorari. See 4-ER-717-718.

                      SUMMARY OF ARGUMENT

     I.    The District Court’s Order setting the amount of fees and

costs should be affirmed because the District Court carefully and

appropriately weighed the relevant factors, including Plaintiffs’

counsel’s hourly rates, the reasonableness of Plaintiffs’ counsel’s

hours, and Plaintiffs’ degree of success. Defendants do not challenge

the District Court’s analyses of these factors, let alone suggest how the

District Court abused its discretion. While Defendants argue that the

District Court’s award is disproportionate to the monetary damages

Plaintiffs recovered, there is no proportionality requirement under

RICO’s mandatory attorneys’ fees provision. And because the same


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standards apply in civil RICO cases as in civil rights fee-shifting cases,

this Court’s precedents declining to impose a proportionality

requirement in those cases apply with equal force to this case.

Moreover,     Defendants’     proportionality      argument      ignores    the

injunctive relief Plaintiffs obtained.       In contrast, the District Court

determined that, if required to address proportionality, the fee award

was proportionate to Plaintiffs’ monetary and injunctive success—

another finding Defendants do not contest. See Part I, infra.

      II.    The fee award need not be revised or eliminated merely

because this Court overturned a single cause of action representing

less than 4% of Plaintiffs’ total monetary damages. Defendants do not

(and cannot) dispute that the overturned cause of action (under the

Federal Wiretap Act) was factually related to the affirmed causes of

action. Accordingly, under Supreme Court precedent, Plaintiffs are

entitled to their fees for prosecuting the Federal Wiretap claim. See

Part II, infra.

      III.   Finally, the District Court did not abuse its discretion

when it declined to require Plaintiffs to produce their underlying


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timesheets.   Plaintiffs supported their fee request with extensive

evidence, including declarations from each attorney describing the

various tasks they performed during each phase of the litigation.

Plaintiffs also provided detailed charts setting forth the precise hours

requested for each attorney for each phase of the litigation. Plaintiffs’

submissions accorded with precedent from this Court holding that a

plaintiff is not required to produce underlying timesheets in order to

receive a fee award. Instead, the party need only submit sufficient

information to enable the opposing party to contest, and the trial court

to determine, the reasonableness of counsel’s hours. The district court

correctly found that Plaintiffs had met this requirement and,

moreover, that requiring counsel to produce their timesheets would be

unduly burdensome in light of the time necessary to redact privileged

information. Defendants do not challenge either of these findings, nor

did they accept the trial court’s invitation to identify specific areas

where production of the timesheets was necessary. Moreover, the

District Court did not blindly accept Plaintiffs’ declarations and




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summaries, but tested their submissions against its own personal

knowledge of the case. See Part III, infra.

                         STANDARD OF REVIEW

        A district court’s award of attorneys’ fees and costs is reviewed

for “abuse of discretion.” See Lowery v. Rhapsody Int’l, Inc., 75 F.4th

985, 991-95 (9th Cir. 2023) (attorneys’ fees); Draper v. Rosario, 836

F.3d 1072, 1087 (9th Cir. 2016) (costs). To establish an abuse of

discretion, an appellant must show that the district court “fail[ed] to

apply the correct legal rule or its application of the correct legal rule

[was] illogical, implausible, or without support in inferences that may

be drawn from facts in the record.” Meier v. Colvin, 727 F.3d 867, 869-

70 (9th Cir. 2013). This is a “highly deferential standard” that is

“limited to assuring that the district court’s determination has a basis

in reason.” Gonzales v. Free Speech Coal., 408 F.3d 613, 618 (9th Cir.

2005).

                               ARGUMENT
   I.      THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION
           IN SETTING THE AMOUNT OF FEES AND COSTS.

        Defendants first argue that the District Court abused its


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discretion because the awarded fees and costs were “more than five

times the amount of damages” that Plaintiffs received, which

Defendants contend is improperly disproportionate.                Appellants’

Opening Brief (AOB) 17-19. This contention is based on the assertion

that “[a]n award of attorneys’ fees and non-statutory costs must

ordinarily be proportional to the amount of damages awarded.” AOB

at 9. However, as Defendants elsewhere acknowledge, multiple courts

of appeals “have held that an award of attorneys’ fees under RICO

need not be proportionate to the amount of damages awarded in light

of the public interest matters that are advanced through civil

prosecutions of RICO cases.” AOB at 18 (citing Northeast Women’s

Ctr. v. McMonagle, 889 F.2d 466 (3d Cir. 1989) and Rosario v.

Livaditis, 963 F.2d 1013 (7th Cir. 1992)).

     In McMonagle, for example, the plaintiff (a medical facility that

provided abortions, pregnancy testing, and other gynecological

services) brought RICO and trespass claims against a large number of

anti-abortion defendants who disrupted the plaintiff’s operations by

harassing its patients and employees, trespassed on its property, and


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damaged medical equipment. 889 F.2d at 467-68. The plaintiff was

ultimately successful against 27 of the 42 defendants on its RICO

claim and against 24 defendants on its trespass claim. Id. at 468. The

jury awarded the plaintiff $887 in damages for the RICO violation

(trebled to $2,661) and $42,087.95 in compensatory damages for the

trespass claim. Id. The trial court awarded the plaintiff $64,946.11

in fees and costs. Id. at 470.

     On appeal, the defendant argued that this award was

disproportionate to the $887 that the plaintiff had recovered in RICO

damages. Id. at 471. But the Third Circuit rejected this argument.

Looking to case law interpreting attorneys’ fees awards in civil rights

litigations under 42 U.S.C. § 1988, the court found that there was

“nothing in the language or the legislative history of either § 1988 or

[the RICO statute] to support the application of a proportionality rule

in the latter, but not the former.” Id. at 474. To the contrary, “like §

1988, the attorneys’ fee clause of [the RICO statute] was designed to

encourage private litigants to promote the policies underlying the

substantive legislation.” Id. In particular, civil RICO’s fee-shifting


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provision serves the purpose of “encouraging private citizens to

enforce the objectives of the RICO statute . . . by ensuring that the

plaintiff’s recovery will not be diminished by counsel fees.” Id. The

court further noted that, if Congress had believed “that attorneys’ fees

should be awarded only in some proportion to the plaintiff’s damages,

it could have easily eliminated or modified the attorneys’ fees

provision of § 1964(c).” Id.

     Numerous other courts analyzing civil RICO have reached the

same conclusion as McMonagle. See Rosario v. Livaditis, 963 F.2d

1013, 1019 (7th Cir. 1992) (“we do not believe that Hensley nor our

own opinions following Hensley require a trial court to grant

attorney’s fees to a prevailing plaintiff in direct proportion to the

overall relief obtained”); FMC Corp. v. Varonos, 892 F.2d 1308, 1316

(7th Cir. 1990) (“Additionally, we question whether [the rule of

proportionality] applies in the context of awards under the RICO fee-

shifting provision, given recent precedent.”); Valadez v. Aguallo, No. C

08-03100 JW, 2009 WL 10680866, at *4-5 (N.D. Cal. Dec. 10, 2009),

aff’d, 433 F. App’x 536 (9th Cir. 2011) (awarding $123,480 in attorneys’


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fees to plaintiffs who recovered nominal damages of $1 on their civil

RICO claim); Sys. Mgmt., Inc. v. Loiselle, 154 F. Supp. 2d 195, 207 (D.

Mass. 2001) (“[T]his Court notes that the obvious policy of the RICO

statute is deterrence, which would best be served by fully

compensating private attorneys general, no matter how limited their

success.”); Serin v. N. Leasing Sys., Inc., No. 7:06-CV-1625, 2011 WL

1467560, at *13 (S.D.N.Y. April 19, 2011), aff’d, 501 F. App’x 39 (2d

Cir. 2012) (in a RICO action, “[t]here is not a requirement that

attorney’s fees awards be proportional to the recovery obtained”)

(citations omitted).

     This    Circuit    has    not    directly    addressed      whether   a

proportionality requirement applies in civil RICO cases. But it has

rejected a strict proportionality requirement in cases applying Section

1988. See Fair Hous. of Marin v. Combs, 285 F.3d 899, 908 (9th Cir.

2002) (“The Supreme Court . . . has rejected the notion that attorney’s

fees in civil rights cases should be proportionate to the amount of

damages a plaintiff recovers.”) (citing City of Riverside v. Rivera, 477

U.S. 561 (1986)). For example, Fair Housing of Marin affirmed a fee


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award of $508,606.78, even though the plaintiff had recovered only

$98,777 in compensatory and punitive damages—essentially the same

5:1 ratio Defendants complain of here. 285 F.3d at 902, 908. Thus,

Fair Housing of Marin flatly refutes Defendants’ claim that a fee

award more than four times the amount of damages is “excessive” “as

a matter of law.” AOB at 13.

     Other Ninth Circuit civil rights cases are in accord. See Vargas

v. Howell, 949 F.3d 1188, 1196-97 (9th Cir. 2020) (“It is not per se

unreasonable for attorneys to receive a fee award that exceeds the

amount recovered by their clients.”) (emphasis in original) (citing

Gonzalez v. City of Maywood, 729 F.3d 1196, 1209 (9th Cir. 2013));

Gonzalez, 729 F.3d at 1209-10 (“It is not per se unreasonable for

attorneys to receive a fee award that exceeds the amount recovered by

their clients. This is especially true in civil rights cases, where the

dollar amount lawyers recover for their clients is not the sole measure

of the results the prevailing parties’ attorneys obtained.”); Quesada v.

Thomason, 850 F.2d 537, 540 (9th Cir. 1988) (“The district court




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should not have reduced the attorney’s fees simply because the

damage award was small.”).

         Defendants do not attempt to distinguish these cases. Instead,

they argue that this Court in McGinnis v. Kentucky Fried Chicken, 51

F.3d 805 (9th Cir. 1994)—a private suit for disability discrimination,

not a RICO case-–“rejected the notion that a statute’s public interest

concerns could justify a grossly-disproportionate award of attorneys’

fees.”     AOB at 18.     Defendants greatly overstate the holding of

McGinnis.

         First and foremost, as a decision of a federal court of appeals,

McGinnis could not possibly have mandated a proportionality rule in

civil rights cases, as U.S. Supreme Court precedent is directly to the

contrary. See City of Riverside, 477 U.S. 561 (upholding $245,456.25

attorneys’ fee award even though plaintiff recovered only $33,350 in

damages).        Moreover, Defendants’ interpretation of McGinnis

contradicts all of the post-1994 Ninth Circuit cases cited above—

including Fair Housing of Marin, Vargas, and Gonzalez—which reject




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the proportionality requirement Defendants seek to impose. See pp.

19-21, supra.

     Far from imposing a proportionality requirement, McGinnis held

only that a district court abuses its discretion if it “expressly refuse[s]

to relate the extent of success to the amount of the fee award.” 51 F.3d

at 810. In contrast, where a district court “consider[s] the relationship

between the amount of the fee awarded and the results obtained,”

“[n]othing more [is] required.” Wallis v. Burlington N. Santa Fe Ry.

Co., 680 F. App’x 515, 517-18 (9th Cir. 2017) (citing Muniz v. United

Parcel Serv., Inc., 738 F.3d 214, 225 (9th Cir. 2013)). Defendants do

not—and cannot—dispute that the District Court considered

Plaintiffs’ degree of success in setting the award, thereby satisfying

McGinnis. 1-ER-10-12.

     Finally, even if proportionality were a concern, Defendants

ignore the non-monetary benefit of the injunction Plaintiffs obtained.

See AOB at 17 (“Here, the total amount of attorneys’ fees and all costs

awarded was $13,950,775.96 [citation] after an award of damages

totaling $2,425,084.”). Morales v. City of San Rafael, 96 F.3d 359 (9th


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Cir. 1996), is illustrative. In Morales, the plaintiff prevailed on a

Section 1983 claim against the City of San Rafael and was awarded

$17,500 in damages, and the district court limited its award of

attorneys’ fees to only $20,000. Id. at 360-61. This Court reversed,

noting that the district court erred in “trying to avoid a figure ‘too

much more’ than the damages award.” Id. at 362. The Court ordered

the district court to “consider not only the monetary results but also

the significant nonmonetary results [plaintiff] achieved for himself

and other members of society.” Id. at 365; see id. at n.12 (“The district

court should, as we stated in McGinnis, consider what [plaintiff’s]

attorney did for his ‘actual client.’ However, the assessment of the

‘results obtained’ by the actual client in a civil rights action should not

be limited to the damages award that person received but also requires

consideration of the nonmonetary benefits the plaintiff personally

gains from the lawsuit.”) (emphasis added) (internal citation omitted).

     Here, Plaintiffs’ nonmonetary benefits from the litigation, i.e.,

the permanent injunction they obtained, further support the fee and

cost award. As the District Court noted: “the injunctive relief, secured


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in part under the federal and Florida recording statutes, also weighs

in favor of the fee award even though the scope of the injunctive relief

awarded was narrower than requested by plaintiffs.”                  1-ER-11.

Defendants do not challenge the District Court’s finding that the

injunctive relief further justified the attorneys’ fee award.

         In contrast to this case, the McGinnis plaintiff obtained no

injunctive relief.    Defendants’ claim that “[t]here is no practical

difference between the situation in McGinnis and the situation here”

(AOB at 19) ignores this critical distinction.          A supposed lack of

proportionality accordingly is no basis to disturb the district court’s

fee award in this case.

   II.      THIS COURT’S REVERSAL ON ONE CLAIM AND ITS
            CORRESPONDING VACATUR OF LESS THAN FOUR
            PERCENT OF THE DAMAGES DOES NOT WARRANT
            REDUCTION OF THE FEES AND COSTS AWARDS.

         Defendants next argue that this Court’s reversal of the Federal

Wiretap Act claim—representing less than 4% of Plaintiffs’ total




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damages award6—warrants either “a reduction or outright denial of

attorneys’ fees, as well as statutory and non-statutory costs.” AOB at

15-16. Defendants’ argument is based on little more than McGinnis,

which as discussed above (a) is distinguishable for multiple reasons;

and (b) has been limited by several more recent decisions of this Court.

See pp. 22-23, supra. Moreover, Defendants’ unsupported suggestion

that a 4% reduction in damages somehow requires “outright denial” of

Plaintiffs’ fee claim ignores the fact that “an award of reasonable

attorney’s fees and costs under RICO is mandatory.”                    United

HealthCare Corp. v. Am. Trade Ins. Co., 88 F.3d 563, 575 (8th Cir.

1996) (citing Scholastic Decisions, Inc. v. DiDomenico, 995 F.2d 1158,

1167 (2d Cir. 1993); Quick v. Peoples Bank of Cullman Cnty., 993 F.2d

793, 799 (11th Cir. 1993); Varonos, 892 F.2d at 1315). In the words of

the statute, a civil RICO plaintiff “shall recover threefold the damages

he sustains and the cost of the suit, including a reasonable attorney’s

fee.” 18 U.S.C. § 1964(c) (emphasis added).



   6
      The Federal Wiretap Act claim accounted for $90,000 of the
$2,425,084 damages award—3.71%.

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     Nor are Defendants entitled to a reduction in the fee award

merely because their appeal resulted in a 4% reduction in damages.

“Where a lawsuit consists of related claims, a plaintiff who has won

substantial relief should not have his attorney’s fees reduced simply

because the district court did not adopt each contention raised.”

Hensley v. Eckerhart, 461 U.S. 424, 440 (1983); Ibrahim v. U.S. Dep’t

of Homeland Sec., 912 F.3d 1147, 1173 (9th Cir. 2019) (citing Hensley,

461 U.S. at 435). Claims are “related” for purposes of attorneys’ fees

motions when they “involve a common core of facts or will be based on

related legal theories. . . . Thus, the test is whether relief sought on

the unsuccessful claim is intended to remedy a course of conduct

entirely distinct and separate from the course of conduct that gave rise

to the injury upon which the relief granted is premised.” Odima v.

Westin Tucson Hotel, 53 F.3d 1484, 1499 (9th Cir. 1995) (quoting

Thorne v. City of El Segundo, 802 F.2d 1131, 1141 (9th Cir. 1986)).

     These principles foreclose reduction of the fee award here.

Defendants do not even attempt to argue that the Federal Wiretap Act

claim is unrelated to Plaintiffs’ successful claims. Nor could they.


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Plaintiffs’ Federal Wiretap Act claim involved the same common core

of facts as Plaintiffs’ successful RICO and state wiretapping claims;

namely, Defendants’ fraudulent scheme to infiltrate Plaintiffs’

conferences and health centers and secretly record Plaintiffs’ staff.

Indeed, Defendants themselves acknowledge that all 15 claims

asserted in Plaintiffs’ First Amended Complaint “aris[e] out of the

same course of events.” AOB at 8. Accordingly, the fee award should

not be reduced simply because one of Plaintiffs’ numerous claims was

unsuccessful. See Hensley, 461 U.S. at 440.

     Defendants’ argument also ignores the “excellent results”

Plaintiffs obtained in litigation as a whole. See Sorenson v. Mink, 239

F.3d 1140, 1147 (9th Cir. 2001) (“Where a plaintiff has obtained

excellent results, his attorney should recover a fully compensatory

fee.”) (quoting Hensley, 461 U.S. at 435). While this Court reversed

the judgment as to one claim, it simultaneously upheld more than 96%

of Plaintiffs’ damages award, as well as the district court’s grant of

injunctive relief. A minimal reduction in damages does not warrant a

reduction in Plaintiffs’ fee award.


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   III.   THE DISTRICT COURT DID NOT ABUSE ITS
          DISCRETION IN AWARDING FEES AND COSTS
          WITHOUT REQUIRING PRODUCTION OF TIMESHEETS.

      Finally, Defendants contend that the District Court abused its

discretion in declining to order Plaintiffs to produce their timesheets.

After Plaintiffs filed their fee motion, Defendants filed an

administrative motion seeking discovery of the individual timesheets

prepared by Plaintiffs’ counsel.        2-ER-268-276.      In opposing the

motion, Plaintiffs noted that they had produced 12 attorney

declarations, totaling 132 pages, that, as the district court found,

“describe[] the specific tasks [each attorney] worked on in roughly nine

different phases of this case and how many hours each of them spent

on these tasks.” 1-SER-37; 1-ER-21. Accordingly, the court denied the

motion, finding that “defendants have enough information to oppose

the fee motion,” as they “can identify—both through the declarations

but also through their own counsels’ recollections of many of the

events (depositions, hearings, meet and confers, trial proceedings,

etc.)—where they believe there was an unreasonable amount of time

sought or duplication of effort.” 1-ER-21-22. Moreover, the court also


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found that “[g]iven the very detailed nature of the declarations [and a

chart Plaintiffs prepared summarizing the time spent], there is only

limited potential utility in providing the defendants access to the

underlying time sheets” that did not “merit requiring Plaintiffs to

undertake    the   time-intensive     effort   to   redact    attorney-client

information” from hundreds of pages of time sheets.                  1-ER-22.

Nevertheless, the district court left the door open for Defendants to

“identify[] particular tasks (or parts of the phases broken down by the

plaintiffs) about which they believe they or the Court do not have

sufficiently detailed information . . . . to test the reasonableness of the

fees claimed by plaintiffs for those tasks.” Id.

      As the district court noted in granting Plaintiffs’ fee motion,

“Defendants did not take my advice to heart.” 1-ER-15. They neither

challenged Plaintiffs’ counsels’ hours as duplicative or unnecessary

“[n]or did they identify any particular phase or segment of this

litigation for which they could not make these sorts of targeted

challenges to plaintiffs’ hours without underlying billing records.” 1-

ER-15-16.


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     Nor have Defendants done so on appeal. Indeed, Defendants do

not challenge any of the factual findings made by the district court in

declining to require Plaintiffs to produce the underlying time sheets.

Thus, this Court must assume that: (1) the summaries prepared by

Plaintiffs’ counsel were sufficiently detailed to enable Defendants to

challenge the reasonableness of the time spent by Plaintiffs’ counsel;

(2) in light of the detailed information submitted by Plaintiffs in

support of their fee motion, producing the timesheets would have been

(at most) of “only limited potential utility” (1-ER-22); and (3) that this

limited potential utility did not justify requiring Plaintiffs to manually

review hundreds of pages of billing records to redact privileged

information.

     Defendants nevertheless maintain that the District Court

abused its discretion in awarding fees and costs without requiring

production of Plaintiffs’ counsel’s actual timesheets. AOB at 19-22.

To support this contention, Defendants assert that “[s]ummaries of the

time incurred in litigating a case are normally insufficient” to support

a fee award. AOB 19; see AOB at 10 (“A claim of attorneys’ fees must


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ordinarily be supported by timesheets made at or near the time of the

legal work performed.”).

     These contentions contradict multiple Ninth Circuit cases. For

example, in Lobatz v. U.S. Western Cellular of California, Inc., 222

F.3d 1142 (9th Cir. 2000), this Court “decline[d] to adopt a rule that a

district court must grant a request for discovery of contemporaneous

time records in every case in which attorney fees are sought,” and held

that “the district court did not abuse its discretion by not examining

class counsel’s contemporaneous time records” where it “carefully

reviewed the . . . summaries it submitted.” Id. at 1148-49. Likewise,

in Fischer v. SJB-P.D. Inc., 214 F.3d 1115 (9th Cir. 2000), the Court

held that that plaintiff had provided sufficient information to support

a fee award where he provided “a summary of the time spent on a

broad category of tasks, such as pleadings and pretrial motions (16.5

hours), settlement (4.2 hours), and court appearances (1.5 hours).” Id.

at 1121; see Ackerman v. W. Elec. Co., 643 F. Supp. 836, 863 (N.D.

Cal. 1986), aff’d, 860 F.2d 1514 (9th Cir. 1988) (“the Ninth Circuit

requires only that the affidavits be sufficient to enable the court to


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consider all the factors necessary to determine a reasonable attorney’s

fee award”). These cases apply the general rule, set forth in Hensley,

that “[p]laintiff’s counsel, of course, is not required to record in great

detail how each minute of his time was expended. But at least counsel

should identify the general subject matter of his time expenditures.”

461 U.S. at 437 n.12.7

       Defendants do not cite, let alone attempt to distinguish, any of

these cases. Instead, they cite a single attorneys’ fee case, Intel Corp.

v. Terabyte Int’l, Inc., 6 F.3d 614 (9th Cir. 1993), for the proposition

that summaries are “normally insufficient” to justify a fee award.

AOB at 19. That case will not bear the weight that Defendants place

upon it.

       In Intel, the trial court “made no findings that the hours

expended were reasonable and that the hourly rates were customary,”




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      Similarly, the Northern District Court’s Local Rules require only
“[a] statement of the services rendered by each person for whose
services fees are claimed, together with a summary of the time spent
by each person, and a statement describing the manner in which time
records were maintained.” N.D. Cal. Civ. L.R. 54-5(b)(2).

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and, instead, “merely awarded the fees without elaboration.” 6 F.3d

at 623. This Court held that this procedure was “inadequate.” Id.

(citing Sealy, Inc. v. Easy Living, Inc., 743 F.2d 1378, 1385 (9th Cir.

1984)). Making matters worse, the “mere summaries of hours worked

. . . made it very difficult to ascertain whether the time devoted to

particular tasks was reasonable and whether there was improper

overlapping of hours.” Id. at 623.

     None of that is true here. While Defendants mischaracterize the

summaries submitted by each of Plaintiffs’ counsel as “conclusory”

(AOB at 10), in fact the attorney declarations did not merely

summarize hours but broke down the time spent on this case into

separate phases and detailed what was done by each timekeeper

during each phase of the case. See 3-ER-307-432. Moreover, in this

case, unlike Intel, the district court expressly concluded that the

summaries gave the defendant sufficient information to dispute

Plaintiffs’ fee request. And in this case, again unlike Intel, the District

Court did not blindly accept that Plaintiffs’ hours were reasonable

based solely on Plaintiffs’ declarations. As the District Court stressed:


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     It bears emphasis that I am not simply taking “at face
     value” the word of the plaintiffs regarding the number
     of hours expended on this case and the reasonableness
     of these hours. [Citation.] I have looked closely at the
     −detailed declarations and the Chart. A review of the
     docket in this case and my intimate knowledge of the
     complexity of the issue raised to Magistrate Judge Ryu
     and me in the different stages of litigation further
     support my conclusion that the hours sought – after the
     25% discount – were reasonably incurred. Absent any
     evidence     from    defendants    identifying   specific
     unreasonableness in terms of subject matter or
     duplication of effort, I have an ample basis to conclude
     the hours sought are reasonable without requiring
     plaintiffs to produce underlying timesheets.

1-ER-17.

     Defendants also argue that Plaintiffs’ counsel’s time summaries

are “summary exhibit[s]” and thus the underlying time sheets should

have been made available under Federal Rule of Evidence 1006. AOB

at 19-20 (citing Intel and Amarel v. Connell, 102 F.3d 1494 (9th Cir.

1996)). Intel is distinguishable for the reasons set forth above. And

Amarel did not involve the use of attorney summaries in lieu of

timesheets in the context of a post-trial fee motion, but rather

discussed the proper procedure for offering summary exhibits at trial.




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Amarel, 102 F.3d at 1516.8 Thus, Amarel noted that providing the

underlying materials for summary exhibits is important “to give the

opposing party an opportunity to verify the reliability and accuracy of

the summary prior to trial.” Id. (emphasis added) (quoting Paddack v.

Dave Christensen, Inc., 745 F.2d 1254, 1261 (9th Cir. 1984)). That

rationale has no relevance to a post-trial motion for attorneys’ fees.

       Defendants’ argument also contradicts decades of caselaw—in

addition to those authorities discussed above.            In Henry v. Gill

Industries, Inc., 983 F.2d 943 (9th Cir. 1993), for example, the plaintiff

argued that the defendant was “required to provide detailed time and

expense records” to establish its entitlement to attorneys’ fees, and

that affidavits were inadequate. Id. at 946. This Court rejected this

argument, explaining that its precedents “have clearly established

that an award of attorney’s fees may be based on the affidavits of

counsel, so long as they are ‘sufficiently detailed to enable the court to



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      The summary exhibits at issue in Amarel were (i) a summary
analysis of California and Thai rice prices and (ii) a graph “comparing
a price-to-loan ratio to a stocks to use ratio for California rice,” both of
which were prepared by defendants’ expert. 102 F.3d at 1516.

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consider all the factors necessary in setting the fees.’” Id. (quoting

Williams v. Alioto, 625 F.2d 845, 849 (9th Cir. 1980) (per curiam); see

also Sablan v. Dep’t of Fin. of N. Mariana Islands, 856 F.2d 1317, 1322

(9th Cir. 1988) (“sufficiently detailed to provide an adequate basis for

calculating an award”); Shakey’s Inc. v. Covalt, 704 F.2d 426, 435 (9th

Cir.   1983) (“ample     evidence    to     support    the   attorney’s    fee

award”); Manhart v. City of L.A., 652 F.2d 904, 908 (9th Cir.

1981) (“sufficiently detailed to provide a basis for the award”), vacated

on other grounds, 461 U.S. 951 (1983). The Henry court noted that

the district court did not err when it held that defendant’s declarations

“satisfied this requirement” because they “disclosed the nature of the

services rendered in connection with unavailing efforts to obtain

discovery, the amount of attorney time so consumed, and the rates at

which this time was billed to the client.” Henry, 983 F.2d at 946.

Plaintiffs’ counsel’s declarations more than met this standard.

       Moreover, like Defendants here, the plaintiff in Henry also

argued that the defendant’s counsel’s affidavits were summaries of the

time records subject to the requirements of Federal Rule of Evidence


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1006. 983 F.2d at 946 n.1. But this Court rejected this argument,

noting that the plaintiff had not even mentioned the line of cases

holding that an attorneys’ fees award could be based on affidavits of

counsel, let alone distinguish them. Id. Defendants’ similar failure to

distinguish the cases cited above is equally fatal to their argument.

     Finally, Defendants contend that, without the timesheets, “there

was no way . . . to determine whether the declarations of Planned

Parenthood attorneys were, in fact, an accurate summary of the

timesheets.” AOB at 20; see id. at 21 (“without being able to compare

them to the timesheets, there was literally no way to know whether

they were accurate”). This is simply not true. In the first place, the

accuracy of the timesheets was verified by each timekeeper, under

penalty of perjury. Moreover, as the district court noted, Defendants’

counsel could determine the reasonableness of the time claimed by

Plaintiffs’ counsel by comparing that time with their own recollections

(see 1-ER-21) and, of course, their own timesheets. Furthermore, the

district court expressly stated that, “[h]ad defense counsel attested

that there was serious duplication of effort or unnecessary hours spent


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by plaintiffs’ counsel in specific phases[,] . . . I could have ordered

plaintiffs to produce timesheets for that specific phase or part of a

phase.” 1-ER-16 n.10. For example, Defendants “could have argued

that in specifically identified meet and confers regarding identified

discovery, plaintiffs’ staffing was unreasonable.” Id. 9

       But Defendants did not do so. As the District Court noted in its

order, Defendants “submitted no evidence from their counsel to

support an argument that plaintiffs engaged in unnecessary

duplication of effort at any stage of this litigation for which plaintiffs

seek compensation—not on any particular motion, in any deposition,

in any hearing or case management conference, or during trial.” 1-

ER-15 (emphasis in original). Given Defendants’ failure to identify

any specific issues with Plaintiffs’ submissions, it was not an abuse of

discretion for the District Court to grant Plaintiffs’ motion without




   9
     For example, this is precisely what Defendants did in opposition
to Plaintiffs’ motion for supplemental attorneys’ fees, where they
questioned the reasonableness of Mr. Perdue’s claimed 130 hours for
work opposing the Defendants’ four petitions for certiorari based on
Mr. Perdue’s declaration. 1-SER-6-7.

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requiring production of the timesheets. See Lobatz, 222 F.3d at 1148

(“The district court did not err in denying [appellant’s] request for

discovery of class counsel’s contemporaneous time records.”). 10

                              CONCLUSION

        For the foregoing reasons, the district court’s fees and costs

awards should be affirmed.




   10
       Defendants also claim that, without Plaintiffs’ counsel’s
timesheets, there was no way for them “to determine the extent to
which Planned Parenthood incurred legal fees for pursuing damages
that the district court determined were not recoverable in its summary
judgment order.” AOB at 21. However, as discussed above, Plaintiffs
were entitled to recover for time spent on ultimately unsuccessful
causes of action and legal theories given the District Court’s
unchallenged finding that all of the claims Plaintiffs asserted and
damages they sought were related. See Part II, supra.

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Dated: May 17, 2024                        Respectfully Submitted,
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  Bernardino Counties, Inc., Planned Parenthood California Central
 Coast, Inc., Planned Parenthood Pasadena and San Gabriel Valley,
 Inc., Planned Parenthood Center for Choice, Planned Parenthood of
      the Rocky Mountains, and Planned Parenthood Gulf Coast




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                    STATEMENT OF RELATED CASES
                    PURSUANT TO CIRCUIT RULE 28-2.

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        other than the case(s) identified in the initial brief(s) filed by the
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[x]     I am aware of one or more related cases currently pending in this
        court. The case number and name of each related case and its
        relationship to this case are:

        Planned Parenthood Federation of America, Inc., et al. v. Center

for Medical Progress, et al., 23-04398 (9th Cir.), and Planned

Parenthood Federation of America, Inc., et al. v. Newman, et al., 24-

00212 (9th Cir.), are consolidated appeals of the District Court’s order

denying Defendants’ motion for relief from the Judgment under

Federal Rule of Civil Procedure 60.




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DATED: May 17, 2024.

                                                /s/ Steven L. Mayer
                                                STEVEN L. MAYER
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              CERTIFICATE OF COMPLIANCE FOR BRIEFS

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[ ]     is accompanied by a motion to file a longer brief pursuant to Cir.
        R. 32-2(a).


DATED: May 17, 2024.

                                                   /s/ Steven L. Mayer
                                                   STEVEN L. MAYER
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                      CERTIFICATE OF SERVICE

     On May 17, 2024, I caused the foregoing opposition to be

electronically filed with the Clerk of the Court for the United States

Court of Appeals for the Ninth Circuit using the appellate ACMS/ECF

system. Participants in the case who are registered ACMS/ECF users

will be served by the appellate ACMS/ECF system.


DATED: May 17, 2024.

                                                /s/ Steven L. Mayer
                                                STEVEN L. MAYER




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